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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


   Civil Action No. 15-cv-02539-MSK-STV

   TERRI EDDY,
   REBECCA ESQUIBEL,
   DENITA HARTZOG,
   GIOVANNA KEMP,
   LISA MAES,
   PEGGY MAJOR,
   COURTNEY MICKELSON,
   SADIE MONTANO,
   PAULA PURDY,
   STACI WRIGHT,
   SAMONE WALKER,
   DASHAWN WALKER,
   THERESA DENBOW,
   CESQUA RASMUSSEN,
   RHONDA CASADOS, and
   CESQUA RASMUSSEN

   Plaintiffs,

   v.

   CITY AND COUNTY OF DENVER, DENVER SHERIFF DEPARTMENT,

   Defendant.

   ______________________________________________________________________

     PLAINTIFFS’ MOTION TO EXCLUDE WITNESSES AND EXHIBITS THAT WERE
            NOT TIMELY DISCLOSED AND FOR A PROTECTIVE ORDER
   ______________________________________________________________________


          The above-named Plaintiffs, by their undersigned counsel, respectfully move the

   Court to enter an Order pursuant to Fed.R.Civ.P. 37(c)(1) precluding Defendant from

   using at the trial of this matter thirty-nine witnesses and scores of exhibits, all of which

   Defendant failed timely to disclose as required by Fed.R.Civ.P. 26(a)(1). Plaintiffs further


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   move for entry of a protective order prohibiting Defendant from using documents which

   were not timely disclosed in any remaining deposition in this matter.

          The undersigned counsel certifies that he conferred regarding these issues by

   telephone with Defendants’ counsel of record, primarily Jessica Allen, Esq. The parties

   were not able to resolve the issues raised by this Motion, and Ms. Allen indicated that

   Defendant will oppose the relief requested herein.

                                         INTRODUCTION

          Defendant, the City and County of Denver (“Denver”), placed fifty-one individuals

   on the Joint Witness List submitted with the parties’ proposed Final Pretrial Order on May

   23, 2018 [ECF No. 119-1]. Of those, forty-six – ninety percent of the total - were first

   disclosed by Denver as potential witnesses in May of 2018. This was nine months after

   the end of discovery in this matter. Denver likewise placed on the parties’ Joint Exhibit

   List [ECF No. 119-2] sixteen exhibits clearly consisting of or containing documents which

   Denver improperly failed to produce, and has newly produced several hundred pages of

   additional documents, many of which appear to be included into various compilation

   exhibits Denver intends to offer at trial.1 All of these witnesses and all of these documents

   were known to Denver throughout the pendency of this case, such that they should have

   been disclosed with Denver’s initial disclosures, or at the latest within a reasonable time

   thereafter. Denver’s flagrant disregard of its disclosure obligations was not substantially

   justified, and allowing Denver to now use these previously undisclosed witnesses and




   1
    In addition, many exhibits listed by Denver consist of a category of unspecified documents, and
   it is unclear to what extent Denver intends to include in these compilations documents which it
   did not timely disclose.
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   exhibits would be far from harmless. Accordingly, under Fed.R.Civ.P. 37(c)(1), Denver

   should be barred from using the bulk of those witnesses and all of those exhibits at trial.

          In addition, Denver recently and unfairly used documents which it had not

   disclosed – despite a Court order compelling their production – in the deposition of Susan

   Jones, Ph.D., one of Plaintiffs’ expert witnesses in this case. Plaintiffs seek a protective

   order prohibiting Denver from further use in depositions of documents it did not timely

   produce.

                                     STANDARD OF REVIEW

          Rule 26(a)(1)(A) requires every litigant to identify those witnesses and documents

   which it “may use to support its claims or defenses, unless the use would be solely for

   impeachment.” Such initial disclosures are to be complete based on reasonable inquiry.

   Fed.R.Civ.P. 26(g). Parties are thereafter required to supplement those disclosures on

   an ongoing basis during the course of litigation. Fed.R.Civ.P. 26(e)(1). The presumptive

   sanction for failing to make disclosures as required by Rule 26 is an order excluding the

   undisclosed evidence:

          If a party fails to provide information or identify a witness as required by
          Rule 26(a) or (3), the party is not allowed to use that information or witness
          to supply evidence . . . at a trial, unless the failure was substantially justified
          or is harmless.

   Fed.R.Civ.P. 37(c)(1). “The determination of whether a Rule 26(a) violation is justified or

   harmless is entrusted to the broad discretion of the district court.” Woodworker's Supply,

   Inc. v. Principal Mutual Life Insurance Co., 170 F.3d 985, 993 (10th Cir. 1999).

                                          BACKGROUND

          This action is brought by fifteen women, each currently or formerly employed by

   Denver as a Deputy in its Sheriff Department (collectively, the “Deputies”). Two of the


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   Deputies initiated this action by filing their Complaint on November 18, 2015 [ECF No. 1].

   In that Complaint, they alleged the very claims for relief on which Plaintiffs now proceed

   to trial. See Complaint, at Third and Fourth Claims for Relief. By August 12, 2016, fourteen

   of the Deputies had become parties plaintiff to this action and filed their Second Amended

   Complaint [ECF No. 65]. The Deputies’ allegations have remained unchanged since that

   date, other than by the subsequent joinder of the final plaintiff [ECF No. 88].

          A.     Denver’s Disclosure of Witnesses and Identification of Trial
                 Witnesses.

          Pursuant to the original Scheduling Order, [ECF # 29], the parties’ initial Rule

   26(a)(1) disclosures were due on March 4, 2016. Denver’s initial disclosures identified six

   witnesses, in addition to the original plaintiffs in this action. See Denver’s Initial

   Disclosures, attached as Exhibit 1. As extended, the period allowed for discovery

   stretched for over sixteen months, and did not conclude until July 3, 2017 [ECF # 81]. The

   parties conducted over two dozen depositions during this time.

          During the discovery period Denver supplemented its Rule 26(a)(1) disclosures on

   twenty-one separate occasions, with a twenty-second following shortly thereafter. See

   Denver’s Twenty-Second Supplemental Disclosure, attached as Exhibit 2. On each of

   these occasions, Denver identified only additional documents; not once did it disclose any

   additional witnesses.

          Following discovery, Denver filed a Motion for Partial Summary Judgment [ECF

   No. 93], on which the Court ruled on April 3, 2018 [ECF No. 113]. As of that ruling, it

   remained the case that Denver had identified only six individuals as fact witnesses on

   whom they might rely in this case, in addition to the original plaintiffs. Then, between May

   1 and May 23, 2018, Denver newly identified scores of additional fact witnesses in a wave


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   of further supplemental disclosures. Almost all of these were sworn officers currently or

   until recently employed by Denver in the Sheriff’s Department, most of them command

   staff or sergeants, and the few others were medical staff who worked in Denver’s

   correctional facilities. Accordingly, all have been known and available to Denver

   throughout this litigation. Denver placed forty-six of these newly disclosed individuals on

   the Joint Witness List submitted by the parties with their proposed Final Pretrial Order.

   Attached hereto as Exhibit 3 is a summary of the witnesses which Denver placed on the

   Joint Witness List, separately listing (a) those which it timely disclosed, (b) those which it

   did not timely disclose, but which Plaintiffs do not seek to preclude, and (c) those which

   it did not timely disclose, and which Plaintiffs do seek to exclude.

          B.      Denver’s Disclosure of Documents, Identification of Trial Exhibits, and
                  Prejudicial Use of Documents Not Timely Disclosed.

          The wave of supplemental disclosures by Denver in the month preceding

   submission of the proposed Final Pretrial Order included disclosure of over 5,500 pages

   of documents. Indeed, such disclosures have continued as recently as May 30, 2018, the

   day before this filing. Many of the newly-disclosed documents were created after the close

   of discovery, and this Motion is not concerned with those documents.2 However, also

   included were several hundred pages of documents that can, and should, have been

   disclosed during discovery. Sixteen of the trial exhibits identified by Denver included or

   consist entirely of these belatedly-disclosed documents. A list of these exhibits is attached

   hereto as Exhibit 4. In addition, of the scores of compilation exhibits which Denver listed,

   but as to which it does identify the specific documents which will comprise the exhibit,



   2
     Plaintiffs do question the relevance of most of those more recent documents, but that is an issue
   for another day.
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   more than thirty appear likely to encompass belatedly-produced documents. See Exhibit

   4.

          Most troubling are belatedly produced “offense in custody” reports, by which

   deputies reported inmate misconduct using the Sheriff Department’s electronic incident

   tracking system, referred to as the “TAG system.” During discovery, Plaintiffs served

   requests for production seeking production of all records in the TAG system relating to

   incidents that met various criteria. After Denver failed to respond adequately or timely to

   those requests, Plaintiffs filed a Motion to Compel [ECF No. 69, which was granted in

   part. Specifically, on December 28, 2016, Magistrate Judge Varholak ordered that:

          Within three weeks, Defendants shall produce all information within the
          Sheriff Department’s TAG system related to those incident numbers
          provided by the Plaintiffs. This information would include all staff reports
          [and] all CAB proceedings . . .

   [ECF No. 78].

          Plaintiffs’ counsel expended a great deal of time preparing various summaries of

   the documents produced by Denver in response to these document requests and the

   Court’s Order. Plaintiffs provided some of the summaries they prepared for the expert

   witnesses they retained, and those experts relied to some extent on these summaries.

   See Summary of OIC Reports, attached as Exhibit 5.

          On May 3, 2018, Denver took the deposition of Dr. Jones, the first of Plaintiffs’

   liability experts to be deposed. During that deposition, Denver’s counsel confronted Dr.

   Jones with documents which counsel asserted demonstrated that the summaries on

   which Dr. Jones had relied were incomplete and therefore inaccurate. See Excerpts of

   Jones Depo., attached as Exhibit 6, at 228:21-230-13; 244:14-246:18. The documents

   with which Denver confronted Dr. Jones were documents that Denver had been ordered


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   by this Court to produce on December 28, 2016. Instead, Denver produced them in a

   dump of over 2,000 pages of documents on May 1, 2018, nine months after the close of

   discovery, and two days before Dr. Jones’ deposition, and then sought to profit from its

   own violation of Court order by impeaching Dr. Jones for not having taken account of the

   documents it had not produced.3

                                                  ARGUMENT

           A.       Denver’s Failure to Disclose Timely Was Not Substantially Justified.

           “’For purposes of Rule 37(c)(1), a party's failure to disclose is substantially justified

   where the non-moving party has a reasonable basis in law and fact, and where there

   exists a genuine dispute concerning compliance.’” Smith v. Aurora Pub. Sch., 318 F.R.D.

   429, 432 (D. Colo. 2016), quoting Poitra v. Sch. Dist. No. 1, 311 F.R.D. 659, 668 (D. Colo.

   2015). During conferral on this Motion, counsel for Denver offered no justification for

   failing to disclose ninety percent of the fact witnesses on whom they anticipate relying at

   trial, and many of the documents on which they intend to rely, until long after the close of

   discovery. With respect to witnesses, the most charitable possible explanation it that

   Denver simply failed to give any meaningful thought to the witnesses on whom it might

   rely, until the Court’s ruling on Denver’s Motion for Partial Summary Judgment turned

   Denver’s thoughts to trial. Any other plausible explanation for such systematic non-

   disclosure involves outright bad faith. With respect to failure to produce documents which

   this Court already had ordered Denver to produce, Plaintiffs frankly have no idea what

   justification Denver can or will offer.



   3 Denver confronted Dr. Jones with previously unproduced documents concerning incident nos. 27963,
   27965, 29792, and 44720. See Deposition Exhibits 264, 271, attached hereto as Exhibit 7. Each of these
   was on the list incidents supplied by Plaintiffs to Denver pursuant to the Court’s discovery order. See Exhibit
   8 hereto

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          Although parties are under a continuing duty to supplement their initial disclosures,

   that does not mean that a litigant can simply wait until a pretrial order is due to determine

   what witnesses and documents it may rely on in the case, and therefore avoid the

   obligations to disclose those witnesses and documents at the outset of discovery as

   required by Rule 26(a)(1). This would defeat the very essence of that rule, which is to

   require disclosure of this information at the outset of discovery, before even waiting for

   service of formal discovery requests. For example, “one of the main purposes of the

   requirement to disclose witnesses ‘that the disclosing party may use to support its claims

   or defenses’ is to ‘assist other parties in deciding which depositions will actually be

   needed.’” Smith, 318 F.R.D. at 431, quoting Advisory Committee Comments to 1993

   Amendments. Hence, “[b]efore making its disclosures, a party has the obligation under

   subdivision (g)(1) to make a reasonable inquiry into the facts of the case.” Advisory

   Committee Notes to Fed.R.Civ.P. 26, 1993 Amendment.

          Denver’s conduct in this case compares unfavorably with that at issue in Smith –

   and even in Smith that conduct was not substantially justified. There, the plaintiff

   submitted with her summary judgment response affidavits seven witnesses she had not

   previously disclosed. Judge Martinez found that the Plaintiff’s failure to disclose those

   witnesses earlier was not substantially justified:

          Counsel's position, above, is that all of these people were already known to
          all parties, but counsel also confirms that she learned of these seven
          individuals' alleged experiences only while preparing her summary
          judgment response. The Court cannot credit the implication that, despite
          counsel's best efforts, she belatedly learned that all seven could be potential
          witnesses in her client's support. Rather, it appears that summary judgment
          proceedings forced counsel to finally focus on the merits of the case and
          prompted further investigation. Accordingly, the Court finds that Smith was
          not substantially justified.



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   Smith, 318 F.R.D. at 432 (internal record citations omitted). Here, there can be no

   justification for Denver’s failure to disclose forty-six witnesses, all individuals

   professionally affiliated with Denver’s Sheriff Department, at any point prior to the end of

   the lengthy discovery period in this action. Likewise, there can be no justification for

   Denver’s failure to disclose several hundred pages of documents on which it now seeks

   to rely, including many which it was specifically ordered to produce a year and a half ago.

          B.     Denver’s Failure to Disclose Was Not Harmless.

          During conferral, Denver did assert that its failure to disclose was harmless,

   because Plaintiffs knew of the existence of each of the individuals and some of the

   documents belatedly disclosed. That is utterly beside the point. Given the number of

   Plaintiffs and the nature of their claims, literally every employee of the Denver Sheriff

   Department and every inmate housed by the Denver Sheriff Department over the past

   several years is a person who might have some knowledge relevant to this litigation.

   However, Rule 26(a)(1) does not require disclosure of everyone with some potentially

   relevant knowledge; rather, it requires disclosure of those individuals and documents on

   whom a litigant might rely in the litigation. Plaintiffs’ collective knowledge of the existence

   of all the various individuals employed by the Sheriff Department gave them no notice of

   which of those individuals Denver anticipated relying on this case.

          Again, Judge Martinez’s discussion in Smith is on-point:

          The information in question is not of the individual’s existence or potential
          body of knowledge, but that the opposing party might call the individual as
          a witness. “[K] nowledge of the existence of a person is distinctly different
          from knowledge that the person will be relied on as a fact witness.” Auraria
          Student Hous. At the Regency, LLC v. Campus Vill. Apartments, LLC, 2014
          WL 2933189, at *2 (D. Colo. June 30, 2014). . . .

          This is not a minor consideration. If one party lists a potential witness on its
          Rule 26 disclosures, the other parties know that they might see or hear that

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           person’s testimony for the first time at summary judgment or trial. The other
           parties can then make a calculated decision whether to seek discovery from
           that person and thereby mitigate the possibility of surprise, or, on the other
           hand, whether the expense of deposing that individual outweighs the
           consequences of potential surprise later. Obviously a party is deprived of
           this choice if the person is never listed as a potential witness.

           This holds true even when all parties are aware of other individuals who
           might have relevant knowledge. Again, the rule requires parties to disclose
           those whom they “may use to support [their] claims or defenses.” Fed. R.
           Civ. P. 26(a)(1)(A)(i). Each party is entitled to presume that the other party
           understands and will comply with this rule. If, for example, all parties
           become aware that John Doe possesses knowledge that may support
           the plaintiff’s claim but the plaintiff does not supplement its Rule 26
           disclosures to name John Doe as a potential witness, the other parties
           are generally entitled to presume that the plaintiff has, for some
           reason, decided not to use John Doe’s testimony in support of its
           claims. Under that presumption, the other parties can plan their discovery
           strategy accordingly.

    Smith, 318 F.R.D. at 431-32 (emphasis added; footnotes omitted).

           Here, Plaintiffs went through almost a year of discovery in ignorance of almost the

    entire list of individuals Denver belatedly would identify as potential trial witnesses. With

    limited exceptions, it would be preposterous to claim that was harmless. The first

    exception is that Plaintiffs took the depositions of six of the forty-six witnesses at issue,

    and do not claim that they were harmed by Denver’s failure to disclose these six

    individuals as witnesses on whom it might rely. 4 Second, Denver identified Christine

    Heidinger as “solely for authentication of documents if documents not stipulated to,” and

    Plaintiffs do not claim they will be harmed if Ms. Heidinger is called solely for this purpose.

    Plaintiffs would be harmed by allowing Denver to call any of the remaining thirty-nine

    witnesses which it failed to disclose during the discovery period.




    4The six are Captain Kenneth Juranek, Sergeants Joseph Bowen, Charles DeNovellis, Jeremy Heinrichs,
    and Victor Lombardi, and Nissa Mills.

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            Moreover, Plaintiffs already have been prejudiced by Denver’s failure to disclose

    documents pursuant to Rule 26 – many of which it also had been ordered by this Court

    to produce. In essence, what happened here is:

            •   The Court ordered Denver to produce “all information within the Sheriff
                Department’s TAG system related to” a list of incident numbers to be provided
                by Plaintiffs, specifically including “all CAB proceedings;”

            •   As to several of the listed incident numbers, Denver instead produced only
                some of the available records, generally omitting records relating to CAB
                hearings;

            •   Plaintiffs prepared extensive summaries based on the records produced,
                assuming them to be complete, as ordered;

            •   Plaintiffs’ experts relied on those summaries in their analysis; and

            •   Denver then produced the remaining records in a document dump two days
                before the first deposition of an expert (and almost a year and a half after its
                ordered production), and ambushed the expert with the fact that the summary
                she had relied on was “inaccurate” in its failure to reflect that some incidents
                had resulted in CAB proceedings.

    That is not harmless error, it is deliberately gaining an advantage by failing to meet

    disclosure obligations or comply with court order.5

            Plaintiffs also are prejudiced by the sheer volume of untimely disclosures. On May

    30, 2018, Denver served Plaintiffs with it’s with its Thirtieth Supplemental disclosures, and

    ninth in little more than a month. Just this latest supplement included over three hundred

    documents, dating back to 2012, and raises the total produced in the past few weeks to

    almost five thousand pages of documents, to go along with the forty-six new witnesses.

    Allowing Denver to use all of this material (which apparently still has no end in sight)




    5 The duty to disclose is triggered not just by anticipated used at trial. “The disclosure obligation is also
    triggered by intended use in discovery, apart from use to respond to a discovery request; use of a document
    to question a witness during a deposition is a common example.” Advisory Committee Notes to
    Fed.R.Civ.P. 26, 2000 Amendment.

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    would place on Plaintiffs an unreasonable burden, at this late stage, in reviewing and

    analyzing all of this material, updating their own prior analyses to incorporate it, having

    their experts do the same, and conducting countless depositions, the testimony from

    which their experts also would need to incorporate into their analysis, all while Plaintiffs

    should be preparing for trial.

           C.     Exclusion is Appropriate.

           Under Rule 37(c)(1), the default consequence of a failure to disclose is that the

    party which failed to disclose a witness or document in compliance with Rule 26(a)(1) is

    precluded from using that witness or document, “on a motion, at a hearing, or at a trial.”

    However, the court is granted discretion to impose other sanctions, in addition to or

    instead of excluding the evidence. Fed.R.Civ.P. 37(c). Those other sanctions include, but

    are not limited to, ordering payment of reasonable attorney fees and other expenses

    caused by the failure. Id. In exercising its discretion, the district court should be guided

    by the following factors:

           (1) the prejudice or surprise to the party against whom the testimony is offered;
           (2) the ability of the party to cure the prejudice; (3) the extent to which introducing
           such testimony would disrupt the trial; and (4) the moving party's bad faith or
           willfulness.

    Woodworker's Supply, 170 F.3d at 993.

           Based on discussions in conferral, Plaintiffs expect that Denver will argue that

    prejudice may be cured by giving Plaintiffs leave to depose its newly-disclosed witnesses

    out of time. If this were a typical instance in which a litigant disclosed one or two

    secondary witnesses after the close of discovery, Denver’s position might be accurate.

    Under these frankly extraordinary circumstances, it is not, for at least three reasons.




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          First, “delay and mounting attorneys fees can equate to prejudice.” Auraria Student

    Hous. at the Regency, LLC v. Campus Vill. Apartments, LLC, No. 10-CV-02516-WJM-

    KLM, 2014 WL 2933189, at *3 (D. Colo. June 30, 2014), citing Sender, 225 F.R.D. at 656;

    see also Jones v. Thompson, 996 F.2d 261, 264 (10th Cir.1993). Giving Plaintiffs an

    effective opportunity to depose the thirty-nine newly disclosed witnesses at issue would

    be tantamount to a complete redo of the discovery period, as many months would be

    required and massive expense incurred. Doing so “would be an insult to the spirit of

    Fed.R.Civ.P. 1, which requires construction of the Federal Rules ‘to secure the just,

    speedy, and inexpensive determination of every action and proceeding.’” Auraria Student

    Hous., 2014 WL 2933189, at *3 (concluding that even though prejudice “might be curable,

    doing so under these circumstances is unreasonable and unwarranted”). In Auraria

    Student Housing, Magistrate Judge Mix concluded:

          Allowing Plaintiff to call the thirteen witnesses listed in the Final Pretrial
          Order would necessitate the re-opening of discovery, in order to permit
          Defendant to prepare a defense regarding these witnesses' testimony. As
          such, the Court finds that the first factor weighs in favor of excluding the
          disclosures, because Defendant is indeed prejudiced, in terms of time,
          money, and effort, by the delayed issuance of Plaintiff's disclosures.

    Auraria Student Hous., 2014 WL 2933189, at *3. Likewise, in Gallegos v. Swift & Co.,

    Chief Judge Babcock concluded that “[p]roviding Swift the opportunity to cure this

    prejudice would mean reopening discovery and postponing the trial, options that are

    expensive and untenable at this stage of the proceeding.” Gallegos, No. 04-CV-01295

    LTBCBS, 2007 WL 214416, at *3 (D. Colo. Jan. 25, 2007) (excluding newly disclosed

    evidence, even in the absence of any evidence of bad faith).

          Second, between sheer numbers and review of Denver’s recitation of facts and

    evidence in the proposed PTO, it appears that the bulk of the testimony on which Denver


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    intends to rely at trial will come from witnesses who were not timely disclosed. Plaintiffs

    should have had an opportunity to discover what those witnesses will say before, for

    example, their experts reviewed the available evidence and issued lengthy reports and

    before Plaintiffs themselves committed to very detailed positions in responding to

    summary judgment. Every decision Plaintiffs have made in this case was made on an

    understanding of the universe of potential evidence, and that understanding will become

    woefully incomplete, through no fault of Plaintiffs, if Denver are allowed to interject scores

    of new witnesses and hundreds of pages of new exhibits into this case at this late date.

    Allowing Plaintiffs to depose these witnesses and review these documents now will do

    nothing to cure the prejudice caused when, to take one pertinent example which already

    has occurred, their experts are attacked by Denver for having formed opinions based on

    evidence rendered incomplete by Denver’s own misconduct.

           Finally, the Court should not exercise its discretion to relieve Denver of the

    consequence of its actions, for policy reasons. Regardless of whether Denver acted in

    bad faith, it unquestionably acted in flagrant disregard for its obligations under Rule 26.

    “To suggest that sanctions are not appropriate simply because the trial court can provide

    a further extension of time or delay the trial would effectively reward [its] non-compliance.”

    Sender v. Mann, 225 F.R.D. 645, 657 (D. Colo. 2004). Denver “should not be permitted

    to ignore [its] disclosure obligations throughout the discovery period and then avoid

    sanctions simply by claiming his deficiencies were not willful.” Id.

           In the alternative, should the Court allow Denver to use any of its late disclosed

    witnesses at trial, Plaintiffs request both leave to take that witnesses deposition, and an

    order requiring Denver to reimburse Plaintiffs for all attorney fees and costs, including the



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    court reporter’s fees, incurred by Plaintiffs in connection with each such deposition. In

    less severe cases, where it is possible and reasonable to avoid prejudice through allowing

    depositions, such an award of fees and costs is appropriate:

           Recognizing the additional costs that inevitably result from inefficient
           discovery, I will also require, as an appropriate sanction for Sender's failure
           to comply with disclosure obligations under Rules 26(a)(1) and 26(e)(1), that
           Sender pay the fees and costs for one attorney representing the Freeborn
           Defendants to participate in those depositions, up to a maximum of $3,000
           per deposition.

    Sender, 225 F.R.D. at 658. See also Smith, 318 F.R.D. at 433 (allowing the plaintiff to

    use five of the seven witnesses she first disclosed in responding to summary judgment,

    allowing the defendant to depose those five witnesses, and requiring the plaintiff to pay

    the defendant’s costs for three of those depositions).

           D.     Entry of a Protective Order is Appropriate.

           Defendants have asked to take the depositions of each of Plaintiffs’ experts out of

    time, and Plaintiffs have not objected to that request. Thus far, only the deposition of Dr.

    Jones has occurred, and the depositions of Robert Worley, Mark McNulty, and Jeff Nehls

    have yet to occur. In order to avoid Denver gaining unfair advantage by its failure to timely

    disclose documents, including especially those which it had been specifically ordered to

    produce, a protective order should enter under Fed.R.Civ.P. 37(b)(2) prohibiting Denver

    from making use in any deposition of any document which it first produced after January

    1, 2018.

           E.     Plaintiffs Should be Awarded the Attorney Fees They Have and Will
                  Incur in Connection With This Motion.

           Rule 37(b) and (c) both authorize an award of fees and costs in favor of a party

    who successfully seeks relief for failure to comply with discovery and/or disclosure



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    obligations. Such an award is appropriate here, given Denver’s flagrant disregard of those

    obligations.

           WHEREFORE, Plaintiffs respectfully move the Court to enter an Order: (1)

    precluding Defendants from offering at trial the testimony of any of the thirty-nine witness

    listed under heading C of Exhibit 3 attached hereto; (2) in the alternative, as to any those

    witness not precluded by the Court, (a) granting Plaintiffs leave to take the deposition of

    that witness prior to trial and (b) awarding Plaintiffs all costs and attorney fees they

    reasonably incur in connection with such deposition; (3) precluding Defendants from

    offering at trial any of the documents identified on Exhibit 4 hereto as exhibits and any

    testimony regarding such documents; (4) prohibiting Defendants from using at any

    deposition in this case any document which existed prior to the discovery cutoff, but which

    Denver did not produce until after the discovery cutoff; and (5) awarding Plaintiffs the

    attorney fees they reasonably incurred in connection with this motion, with Plaintiffs

    granted leave to submit a separate Affidavit of Fees within twenty-one days, if the parties

    are not able to agree on their amount.

            DATED at Denver, Colorado this 31st day of May 2018.


                                                     s/ Brian T. Moore
                                                     Brian T. Moore
                                                     JESTER, GIBSON & MOORE, LLP
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                                  CERTIFICATE OF SERVICE

           I hereby certify that on this 31st day of May 2018, a true and correct copy of the
    foregoing PLAINTIFFS’ MOTION TO EXCLUDE WITNESSES AND EXHIBITS THAT
    WERE NOT TIMELY DISCLOSED AND FOR A PROTECTIVE ORDER was filed with
    the Clerk of the United States District Court for the District of Colorado using the CM/ECF
    system, and served upon the following:

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                                                     s/ Cristina Tostado
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